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      Attorneys for Defendant
11    JC Realty Investment LLC
12                       UNITED STATES DISTRICT COURT
13                      NORTHERN DISTRICT OF CALIFORNIA

14    SCOTT JOHNSON,                           Case: 3:20-CV-6544-EMC
15            Plaintiff,
                                               JOINT STIPULATION FOR
16      v.                                     DISMISSAL PURSUANT TO
17    JC REALTY INVESTMENT LLC, a              F.R.CIV.P. 41 (a)(1)(A)(ii)
      California Limited Liability
18    Company; and Does 1-10,
19            Defendants.
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     Joint Stipulation for Dismissal              Case: 3:20-CV-6544-EMC
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 1                                     STIPULATION
 2
 3          Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and
 4   between the parties hereto that this action may be dismissed with prejudice
 5   as to all parties; each party to bear his/her/its own attorneys’ fees and costs.
 6   This stipulation is made as the matter has been resolved to the satisfaction of
 7   all parties.
 8
 9   Dated: December 07, 2020           CENTER FOR DISABILITY ACCESS
10
                                        By: /s/ Amanda Seabock
11                                              Amanda Seabock
12                                              Attorneys for Plaintiff

13   Dated: December 07, 2020           LAW OFFICE OF RICK MORIN, PC
14
15                                      By: /s/ Richard Morin
                                                Richard Morin
16                                              Attorneys for Defendant
                                                JC Realty Investment LLC
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     Joint Stipulation for Dismissal                 Case: 3:20-CV-6544-EMC
      Case 3:20-cv-06544-EMC Document 18 Filed 12/07/20 Page 3 of 3




 1                        SIGNATURE CERTIFICATION
 2
 3   I hereby certify that the content of this document is acceptable to Richard
 4   Morin, counsel for JC Realty Investment LLC, and that I have obtained Mr.
 5   Morin’s authorization to affix his electronic signature to this document.
 6
 7   Dated: December 07, 2020          CENTER FOR DISABILITY ACCESS
 8
                                       By: /s/ Amanda Seabock
 9                                             Amanda Seabock
10
                                               Attorneys for Plaintiff

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     Joint Stipulation for Dismissal                Case: 3:20-CV-6544-EMC
